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                   Online Platforms and Market Power Part 6: Examining the Dominance of Amazon, Apple,
                                                  Facebook, and Google

                             Questions for the Record from the Honorable Henry "Hank" Johnson, Jr.

                                                  Questions for Tim Cook, CEO, Apple, Inc.


            1. "Efficient infringement"-the use of another company's patents without authorization,
                based on the understanding that litigation will be too slow to meaningfully stop the
                infringement and will ultimately only result in the payment of a royalty if the suit is lost
                (approximately the same royalty that would be paid up front if a license were taken) is a
                way in which dominant companies currently may be stifling innovation and undermining
                competitors.
                Apple's former patent chief even admitted as much: "efficient infringement, where the
                benefits outweigh the legal costs of defending against a suit, could almost be viewed as a
                'fiduciary responsibility,' at least for cash-rich firms that can afford to litigate without
                      I
                end." As the Chairman of the subcommittee with responsibility for oversight of the patent
                system, I am concerned about the impact of efficient infringement on the ability of patents
                to spur innovation and allow startups to effectively compete against established companies.

            Apple is a leading innovator in the fields of wireless communication and mobile devices. Over the past
            decade, Apple products like the iPhone and iPad have revolutionized these industries. Innovating on this
            scale requires an extraordinary investment of energy and resources, and Apple relies in part upon a
            healthy patent system to protect this investment. Apple owns thousands of U.S. patents and is licensed
            to use thousands more. And when disputes arise, Apple sometimes finds itself in court, whether to
            enforce its own rights or to defend against allegations of infringement levied by another firm. Apple
            therefore has a keen interest in a balanced patent system that encourages competition and innovation,
            and discourages hold-up and waste.

            The concept of "efficient infringement" is an anathema to Apple. This is not a concept or idea embraced
            by our company. As for the individual cited in the article, he is not an Apple employee, he was never
            the "patent chief' at Apple, and he does not speak for the company. And, since leaving Apple seven
            years ago, he has gone on to work for several patent assertion entities ("PAEs"), sometimes referred to
            as patent trolls. He is currently employed by Conversant, one of the largest PAEs in the world. These
            entities are hardly champions of innovation, entrepreneurs, or start-ups.

            The verdict in Wisconsin Alumni Research Foundation v. Apple Inc. referenced in the article was
            overturned two years ago. The Federal Circuit found that, as a matter oflaw, the jury was incorrect, and
            that Apple did not infringe WARF's patent. WARF petitioned for and was denied further review by the
            Supreme Court in October 2019.




            1
             Joe Nocera, Why Sonos Has Already Los/ !Is Patent Suit Against Cioogle, Bloomberg (Jan. 10, 2020),
            https ://www. b loornberg. corn/opinion/articles/2 020-01-10/even-if-sonos-wins-its-suit-against-gQQgle-it-loses.

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https://www.congress.gov/116/meeting/house/110883/documents/HHRG-116-JU05-20200729-QFR059.pdf                                            1/3


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                          1.1 To me, these factors suggest that the Supreme Court's decision in eBay v.
                              MercExchange, 547 U.S. 388 (2006), to reverse the presumption of awarding
                              injunctive relief to a prevailing patent owner should be reevaluated to ensure
                              that smaller patent owners are playing on a level playing field in patent disputes.
                              Do you agree or disagree, and why?

            Injunctive relief is equally available to "smaller patent owners" and larger ones. eBay properly
            emphasizes that injunctive relief should only be available to avoid irreparable hann, when monetary relief
            is not sufficient, and after weighing both the balance of hardships and the public interest. Injunctions
            remain available to protect true innovation from infringement by competitors. Over 1,000 pennanent
            injunctions have been granted in patent litigation matters in the last five years. When requested,
            permanent injunctions are granted in almost 90% of cases. 2

            eBay has made it difficult for PAEs to secure an injunction. These entities exist only to acquire and
            litigate patents. They "don't actually produce anything themselves." 3 Instead, their business model is "to
            essentially leverage and hijack somebody else's idea and see if they can extort some money out ofthem."4
            Because these entities' only aim is monetary relief, courts have correctly recognized that injunctive relief
            should not be available to them-they would abuse their injunctions to obtain improper leverage and
            extract outsized monetary settlements. Apple believes that eBay strikes a fair balance by making
            injunctive relief available only when monetary relief is insufficient.

            Apple respectfully submits that a concern that requires further study and action is the plague of PAEs.
            Apple's commercial success has made it a target for PAEs. Our experience confinns what many others
            have documented: although PAE activity is not necessarily harmful in theory, far too many PAEs exist
            only to extract undeserved royalties. For example, one study estimated that patent litigation brought by
            PA Es in the United States resulted in expenditures of $29 billion in 2011 for licensing fees, legal fees,
            and other costs of responding to PAE litigation. 5 Another study found, by looking at the impact on stock
            price, that lawsuits by PAEs from 1990 through 2010 were responsible for the defendants losing half a
            trillion dollars. 6 And those losses are not offset by corresponding gains to patent holders that promote
            innovation. One study found that the profits received by PAEs from litigation amounted to less than 10%
            of the lost share value of companies targeted by the PAEs. 7

                          1.2 What steps does your company take to ensure that any intellectual property
                              it gains access to during acquisition negotiations is not copied or used without
                              authorization if those acquisition negotiations prove to be unfruitful?

            Apple respects the intellectual property rights of third parties and strictly protects third-party confidential
            information.

            Apple enters into Non-Disclosure Agreements ("NDAs") with potential acquisition targets that set forth
            the requirements and restrictions for treatment, use, and destruction or return of information received

            2
              Josh Landau, Much Ado About Injunctions, Patent Progress (Aug. l, 2019), https://www .patentprogress.org/2019/
            08/01/much-ado-about-iniunctions/.
            3
              President Obama Participates in a Fireside Hangout on Google+, YouTube (Feb. 14, 2013 ),
            https://www.youtube.com/watch?v=kp zigxNIS-Y.
            4 Id.
            5
              James Bessen & Michael J. Meurer, The Direct c:ostsfrom NPE Disputes. 99 Cornell L. Rev. 387, 389-90 (2014).
            6
              James Bessen, Jennifer Ford, & Michael J. Meurer, The Private and Social Costs ofPatent Trolls, 34 Regulation 26.
            31 (2011-12).
            7
              Bessen & Meurer, supra, at 41 l.

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https://www.congress.gov/116/meeting/house/110883/documents/HHRG-116-JU05-20200729-QFR059.pdf                                         2/3


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            during negotiations. The NDAs typically permit Apple to use the potential acquisition targets'
            information solely for evaluating and implementing a potential transaction and require Apple to limit
            disclosure of the potential acquisition targets' information to those with a need to know who are bound by
            confidentiality obligations to Apple. When acquisition negotiations terminate, a target may ask Apple to
            destroy or return its confidential information. Apple takes steps to ensure compliance with these requests
            and all other operative provisions in the NDAs, including requirements that information be used solely for
            a potential acquisition and no other purpose.

            Apple also has policies that expressly prohibit the unauthorized use of third-party intellectual
            property. When Apple hires an employee, the parties' employment agreement expressly provides that no
            third-party intellectual property may be used for work at Apple. Apple also has an internal Business
            Conduct Policy for employees that prohibits the unauthorized use of third-party intellectual property.




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